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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION

      UNITED STATES, et al.,

                          Plaintiffs,

             vs.
                                                             No: 1:23-cv-00108-LMB-JFA
      GOOGLE LLC,

                          Defendant.




                   NON-PARTY MEDIAVINE, INC.’S MOTION TO SEAL
                      EXHIBIT A TO MEDIAVINE’S OBJECTION

         Non-party Mediavine, Inc., by counsel and pursuant to Federal Rule of Civil Procedure

  5.2(d) and Local Civil Rule 5, moves to permanently file under seal Exhibit A to the Declaration

  of Eric Hochberger in support of Non-Party Mediavine, Inc.’s Objection to Public Use of Highly

  Confidential Information, filed July 26, 2024 (“Mediavine’s Objection”). The grounds for this

  Motion are stated in Mediavine’s Objection.



  Dated: July 26, 2024                               Respectfully submitted,
                                                     MEDIAVINE, INC.

                                                     /s/ Jennifer McLain McLemore
                                                     Jennifer McLain McLemore
                                                     (Va. Bar No. 47164)
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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                  ALEXANDRIA DIVISION

      UNITED STATES, et al.,

                           Plaintiffs,

             vs.
                                                               No: 1:23-cv-00108-LMB-JFA
      GOOGLE LLC,

                           Defendant.




                                   CERTIFICATE OF SERVICE

         I hereby certify that on this 26th day of July, 2024, I filed the foregoing document and

  served all counsel of record in this action through the Court’s ECF filing system.



  Dated: July 26, 2024                                 /s/ Jennifer McLain McLemore
                                                       Jennifer McLain McLemore
